Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 1 of 15 Page ID #653



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

  DAVID ROBERT BENTZ,
                                                 )
                                                 )
                       Plaintiff,
                                                 )
                                                 )
  vs.                                                Case No. 14-cv-0562-MJR-SCW
                                                 )
                                                 )
  WILLIAM QUALLS,
                                                 )
  MICHAEL SAMUEL,
                                                 )
  KENT BROOKMAN,
                                                 )
  NATHANIEL MAUE,
                                                 )
  MICHAEL SCHNICKER,
                                                 )
  RYAN SADDLER,
                                                 )
  KIMBERLY BUTLER,
                                                 )
  RAYMOND ALLEN,
                                                 )
  TINA MONROE,
                                                 )
  WESLEY MONROE,
                                                 )
  UNKNOWN NURSE DEFENDANT,
                                                 )
  and UNKNOWN JOHN DOE
                                                 )
  CORRECTIONAL OFFICERS 1-4,
                                                 )
                       Defendants.

                              MEMORANDUM AND ORDER

  REAGAN, Chief Judge:

  A.     INTRODUCTION

         On May 16, 2014, David Robert Bentz (Plaintiff), incarcerated at Menard

  Correctional Center, filed a pro se complaint in this Court under 42 U.S.C. 1983, asserting

  that several correctional officers had violated his federally secured constitutional rights.

  Plaintiff alleges that he was assaulted on May 11, 2014 by Defendants Maue, Qualls, and

  Unknown Defendants #1 and 2, and various other Defendants failed to protect him or

  were deliberately indifferent to the serious medical needs he received as a result of the

  assault. The case survived threshold review under 28 U.S.C. 1915A on May 21, 2014,
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 2 of 15 Page ID #654



  and summonses were issued as to seven named Defendants. An amended complaint

  was filed on July 14, 2014, and requests for waiver of service were sent as to three

  additional Defendants identified therein.

         Now before the Court is a motion for summary (and supporting memorandum)

  filed by the ten named Defendants -- Raymond Allen, Kent Brookman, Kimberly Butler,

  Nathaniel Maue, William Qualls, Ryan Sadler, Michael Samuel, Michael Schnicker, Tina

  Monroe, and Wesley Monroe (Docs. 76 and 77). Plaintiff filed a response (Doc. 80)

  opposing the motion. Defendants filed a reply (Doc. 81). Based on the following, the

  Court GRANTS Defendants’ motion for summary judgment (Doc. 76).

  B.     FACTUAL AND PROCEDURAL BACKGROUND

         Plaintiff alleges that several prison officials assaulted him on May 11, 2014. More

  specifically, as limited by the Court’s threshold review Order (Doc. 5), Plaintiff alleges

  the following. On May 11, 2014, Defendant Maue passed Plaintiff while Plaintiff was

  on his way to lunch and threatened to slap Plaintiff the next time Plaintiff passed him

  (Doc. 5, p. 2).    When Plaintiff returned from lunch, Maue approached him and

  pretended to slap him. Maue and Qualls then ordered Plaintiff to report to Six Gallery.

  When Plaintiff arrived, Defendants Maue, Qualls, and unknown Defendants #1 and #2

  assaulted Plaintiff by punching him, grabbing his neck and shoving him into a wall (Id.).

  Defendants Samuel, Brookman, Sadler, Qualls, Schnicker, Maue, Tina Monroe, Wesley

  Monroe, and unknown Defendants #2, #3, and #4 failed to intervene. Maue grabbed

  Plaintiff by his shirt and twisted it till Plaintiff could not breathe, dragging Plaintiff from

                                           Page 2 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 3 of 15 Page ID #655



  Six Gallery to Five Gallery. Maue then slammed Plaintiff’s head into the wall indicating

  that he would kill Plaintiff (Id.). Schnicker and Qualls also participated in the assault,

  while the other Defendants watched.         Plaintiff passed out; when he woke up, the

  Defendants continued to assault him (Id.).

         Plaintiff further alleges the following. After the assault, Plaintiff was returned to

  his cell. He asked Defendant Sadler and other unknown Defendants for help but they

  failed to help him, instead threatening to beat him if he reported the assault (Doc. 5, p. 2).

  That afternoon, Plaintiff reported the assault to Defendant Samuels in the prison yard;

  Samuels did not help him (Id. at p. 3). Instead, Samuels threatened Plaintiff with a

  disciplinary ticket if he did not return to his cell (Id.). Later, Plaintiff spoke with an

  unknown Lieutenant and complained of jaw and neck pain. The Lieutenant agreed to

  help Plaintiff, if he did not make a case about the incident. Plaintiff was escorted to an

  unknown Defendant nurse who refused Plaintiff’s request for pain medication, x-rays,

  and other tests.

         Defendants Raymond Allen, Kent Brookman, Kimberly Butler, Nathaniel Maue,

  William Qualls, Ryan Sadler, Michael Samuel, Michael Schnicker, Tina Monroe, and

  Wesley Monroe filed a motion for summary judgment in response to Plaintiff’s

  complaint. Defendants argue that they are entitled to summary judgment/dismissal,

  because Plaintiff failed to exhaust his administrative remedies prior to filing this suit.

  Defendants point out that only one grievance filed by Plaintiff related to the allegations

  in this complaint was submitted at the institutional level. That grievance was dated

                                           Page 3 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 4 of 15 Page ID #656



  May 16, 2014 and was received on May 21, 2014 (Doc. 77-3, p. 1; Doc. 77-2, p. 2). The

  warden deemed it a non-emergency on May 22, 2014 (Id.). Plaintiff filed his original

  complaint in this Court on May 16, 2014 (Doc. 1).

         Plaintiff counters that he wrote an emergency grievance and submitted it on

  May 12, 2014 and never received a response (Doc. 80-1, p. 55).       He states that he

  submitted the grievance again on May 19, 2014 (Doc. 80-1, pp. 111-112).          Plaintiff

  maintains that although the logs state the grievance was returned to him, he never

  received a response.

  C.     APPLICABLE LEGAL STANDARDS

         →      Summary Judgment Standard

         Summary judgment is proper only “if the admissible evidence considered as a

  whole shows there is no genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.” Dynegy Mktg. & Trade v. Multi Corp., 648

  F.3d 506, 517 (7th Cir. 2011) (internal quotation marks omitted), citing FED. R. CIV. P.

  56(a). See also Ruffin-Thompkins v. Experian Info. Solutions, Inc., 422 F.3d 603, 607

  (7th Cir. 2005).

         The    party    seeking   summary   judgment   bears   the   initial   burden   of

  demonstrating—based on the pleadings, affidavits, and/or information obtained via

  discovery—the lack of any genuine issue of material fact. Celotex Corp. v. Catrett, 477

  U.S. 317, 323 (1986). After a properly supported motion for summary judgment is

  made, the adverse party “must set forth specific facts showing that there is a genuine

                                        Page 4 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 5 of 15 Page ID #657



  issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986) (quoting FED.

  R. CIV. P. 56(e)(2)).

           A fact is material if it is outcome determinative under applicable law. Anderson,

  477 U.S. at 248; Ballance v. City of Springfield, Ill. Police Dep’t, 424 F.3d 614, 616 (7th

  Cir. 2005); Hottenroth v. Village of Slinger, 388 F.3d 1015, 1027 (7th Cir. 2004). A

  genuine issue of material fact exists if “the evidence is such that a reasonable jury could

  return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. To survive

  summary judgment, the nonmovant must present more than a "mere scintilla" of

  evidence showing the existence of a genuine issue of material fact. Chaib v. Indiana,

  744 F.3d 974, 981 (7th Cir.), cert. denied, 135 S. Ct. 159 (2014). See also Zuppardi v.

  Wal-Mart Stores, Inc., 770 F.3d 644, 650 (7th Cir. 2014). Stated another way, a scintilla

  of evidence supporting the nonmovant's position is not enough; "there must be evidence

  on which the jury could reasonably find for the non-moving party." Harris N.A. v.

  Hershey, 711 F.3d 794, 798 (7th Cir. 2013).

           On summary judgment, the Court considers the facts in the light most favorable

  to the non-movant (here, Plaintiff). Srail v. Village of Lisle, 588 F.3d 940, 948 (7th Cir.

  2009).     The Court adopts reasonable inferences, and resolves doubts, in the

  nonmovant’s favor. Id.; Nat’l Athletic Sportswear, Inc. v. Westfield Ins. Co., 528 F.3d

  508, 512 (7th Cir. 2008).     Summary judgment is “not an appropriate occasion for

  weighing the evidence” and should not be granted if the evidence before the court

  supports alternate inferences.     Dowden v. Polymer Raymond, Inc., 966 F.2d 1206,

                                          Page 5 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 6 of 15 Page ID #658



  1207-08 (7th Cir. 1992). See also Anderer v. Jones, 385 F.3d 1043, 1064 (7th Cir. 2004),

  cert. denied, 546 U.S. 1032 (2005).

         →      Exhaustion Under the PLRA

         Lawsuits brought by prisoners are governed by the Prison Litigation Reform Act

  (PLRA), 42 U.S.C 1997e. The PLRA requires that “no action shall be brought with

  respect to prison conditions under section 1983 of this title, or any other Federal law, by a

  prisoner confined in any jail, prison, or other correctional facility until … administrative

  remedies as are available are exhausted.” 42 U.S.C. 1997e(a).

         Exhaustion is a condition precedent to suit in federal court, so the inmate must

  exhaust before he commences his federal litigation; he cannot exhaust while his lawsuit is

  pending. See Perez v. Wisconsin Department of Corr., 182 F.3d 532, 535 (7th Cir. 1999);

  Dixon v. Page, 291 F.3d 485, 488 (7th Cir. 2002). If the inmate fails to exhaust before

  filing suit in federal court, the district court must dismiss the suit. See Jones v. Bock,

  549 U.S. 199, 223 (2007); Burrell v. Powers, 431 F.3d 282, 284-85 (7th Cir. 2005). 1

         The United States Court of Appeals for the Seventh Circuit requires strict

  adherence to the PLRA’s exhaustion requirement. Dole v. Chandler, 438 F.3d 804, 809

  (7th Cir. 2006) (“This circuit has taken a strict compliance approach to exhaustion”).

  The exhaustion requirement of the PLRA is dependent upon the procedures established


         1
                Although dismissal is the procedural step the district court takes if a
         plaintiff failed to exhaust prior to filing suit, the issue of exhaustion most
         often is raised via summary judgment motion, so that the Court can
         consider evidence “outside the pleadings,” such as affidavits, grievances,
         responses, appeals, and related documentation. See FED. R. CIV. P. 12(d).
                                           Page 6 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 7 of 15 Page ID #659



  by the state in which the prison is located. Jones, 549 U.S. at 218. Unexhausted claims

  may not be brought to court. Jones, 549 U.S. at 211, citing Porter v. Nussell, 534 U.S.

  516, 524 (2002).

         The Seventh Circuit requires strict compliance as to exhaustion. “Unless a

  prisoner completes the administrative process by following rules the state has

  established for that process, exhaustion has not occurred.” Pozo v. McCaughtry, 286

  F.3d 1022, 1025 (7th Cir. 2002). This includes the filing of “complaints and appeals in

  the place, and at the time, the prison’s rules require.” Id. at 1025. If the prisoner fails to

  comply with the established procedures, including time restraints, the court may not

  consider the claims. Pavey v. Conley, 663 F.3d 899, 903 (7th Cir. 2011).

         The purpose of the exhaustion requirement is two-fold. First, it gives the prison

  officials the chance to address the prisoner’s claims internally, before any litigation

  becomes necessary. Kaba v. Stepp, 458 F.3d 678, 684 (7th Cir. 2006); Woodford v. Ngo,

  548 U.S. 81, 89-90 (2006). Second, it “seeks to reduce the quantity and improve the

  quality of prisoner suits.” Porter, 534 U.S. at 524. See also Booth v. Churner, 532 U.S.

  731, 737 (2001) ( PLRA’s requirement will help “filter out some frivolous claims.”).

         Because exhaustion is a prerequisite to filing a suit, a prisoner must wait to

  commence litigation until he has completed the established process; he may not file in

  anticipation of administrative remedies soon being exhausted. Perez, 182 F.3d at 535,

  citing 42 U.S.C 1997e(a); Ford v. Johnson, 362 F.3d 395, 398 (7th Cir. 2004). A suit filed



                                           Page 7 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 8 of 15 Page ID #660



  prior to exhaustion of available remedies will be dismissed, even if the remedies become

  exhausted while the suit is pending. Perez, 182 F.3d at 535.

         The exhaustion requirement is an affirmative defense, on which defendants bear

  the burden of proof. Pavey, 663 F.3d at 903. The Seventh Circuit held that “debatable

  factual issues relating to the defense of failure to exhaust administrative remedies” are

  not required to be decided by a jury but are to be determined by the judge. Pavey v.

  Conley, 544 F.3d 739, 740-41 (7th Cir. 2008). Where failure to exhaust administrative

  remedies has been raised as an affirmative defense (i.e., exhaustion is contested, as it is in

  the case at bar), the district court should follow this recommended sequence (id., 544

  F.3d at 742):

         (1) The district judge conducts a hearing on exhaustion and permits
         whatever discovery relating to exhaustion he deems appropriate.

         (2) If the judge determines that the prisoner did not exhaust his
         administrative remedies, the judge will then determine whether (a) the
         plaintiff has failed to exhaust his administrative remedies, and so he must
         go back and exhaust; (b) or, although he has no unexhausted
         administrative remedies, the failure to exhaust was innocent (as where
         prison officials prevent a prisoner from exhausting his remedies), and so
         he must be given another chance to exhaust (provided that there exist
         remedies that he will be permitted by the prison authorities to exhaust, so
         that he’s not just being given a runaround); or (c) the failure to exhaust was
         the prisoner’s fault, in which event the case is over.

         (3) If and when the judge determines that the prisoner has properly
         exhausted his administrative remedies, the case will proceed to pretrial
         discovery, and if necessary a trial, on the merits; and if there is a jury trial,
         the jury will make all necessary findings of fact without being bound by (or
         even informed of) any of the findings made by the district judge in
         determining that the prisoner had exhausted his administrative remedies.


                                           Page 8 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 9 of 15 Page ID #661



        →      Exhaustion under Illinois Law

        As an inmate confined within the Illinois Department of Corrections (IDOC),

  Plaintiff was required to follow the regulations contained in the IDOC's Grievance

  Procedures for Offenders to properly exhaust his claims. 20 Ill. Admin. Code 504.800,

  et seq. The grievance procedures first require inmates to speak with the counselor

  about their complaint. 20 Ill. Admin. Code 504.810(a). Then, if the counselor does not

  resolve the issue, the inmate must file a grievance form directed to the Grievance Officer

  within 60 days of the incident. Id. The grievance form must:

        contain factual details regarding each aspect of the offender’s complaint,
        including what happened, when, where, and the name of each person who
        is subject of or who is otherwise involved in the complaint. The provision
        does not preclude an offender from filing a grievance when the names of
        individuals are not known, but the offender must include as much
        descriptive information about the individual as possible.

  20 Ill. Admin. Code 504.810(b).

        “The Grievance Officer shall [then] consider the grievance and report his or her

  findings   and    recommendations      in   writing   to   the    Chief   Administrative

  Officer...[who]shall advise the offender of the decision in writing within 2 months after

  receipt of the written grievance, where reasonably feasible under the circumstances.”

  20 Ill. Admin. Code 504.830(d).        If the inmate is not satisfied with the Chief

  Administrative Officer’s response, he or she can file an appeal with the Director through

  the Administrative Review Board (ARB).

        More specifically: “If after receiving the response of the Chief Administrative

  Officer, the offender still feels that the problem, complaint or grievance has not been
                                         Page 9 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 10 of 15 Page ID #662



   resolved to his or her satisfaction, he or she may appeal in writing to the Director within

   30 days after the date of the decision. Copies of the Grievance Officer’s report and the

   Chief Administrative Officer’s decision should be attached.”        20 Ill. Admin. Code

   504.850(a).

          “The Administrative Review Board shall submit to the Director a written report of

   its findings and recommendations.” 20 Ill. Admin. Code 504.850(e). “The Director

   shall review the findings and recommendations of the Board and make a final

   determination of the grievance within 6 months after receipt of the appealed grievance,

   where reasonably feasible under the circumstances. The offender shall be sent a copy of

   the Director’s decision.” 20 Ill. Admin. Code 504.850(f).

          The grievance procedures also allow for an inmate to file an emergency grievance.

   To file an emergency grievance, the inmate must forward the grievance directly to the

   Chief Administrative Officer (CAO) who may determine that "there is a substantial risk

   of imminent personal injury or other serious or irreparable harm to the offender” and

   thus the grievance should be handled on an emergency basis. 20 Ill. Admin. Code

   504.840(a).

          If an inmate forwards the grievance to the CAO as an emergency grievance, the

   CAO “shall expedite processing of the grievance and respond to the offender” indicating

   to him which course he has decided is necessary after reading the grievance.        20 Ill.

   Admin. Code 504.840(b). Once the CAO has informed the inmate of his decision, the

   inmate may then appeal that decision to the ARB on an expedited basis. 20 Ill. Admin.

                                          Page 10 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 11 of 15 Page ID #663



   Code 504.850(g).

   D.     ANALYSIS

          Plaintiff alleges that he submitted his grievance on May 12, 2014 and that

   although it was received by the warden as an emergency, it was never returned to him.

   The problem is that the record plainly reveals that Plaintiff did not wait to see if his

   grievance was returned to him before he filed this suit. Moreover, Plaintiff clearly was

   still in the process of attempting to exhaust his administrative remedies as of May 19,

   2014, because he says he resubmitted his grievance at that time.

          As noted above, exhaustion is a precondition to filing suit; a prisoner may not file

   suit in anticipation that his administrative remedies will soon become exhausted. Ford

   v. Johnson, 362 F.3d 395, 398 (7th Cir. 2004). And an inmate plaintiff cannot exhaust

   while his lawsuit is pending. Perez, 182 F.3d at 535; Dixon, 291 F.3d at 488.

          Here, Plaintiff did not give the correctional facility an opportunity to review and

   respond to his emergency grievance. Plaintiff’s grievance was listed as being received

   by the warden on May 21, 2014 (Doc. 77-2, p. 2). Plaintiff attests in his affidavit that he

   submitted the grievance on May 12, 2014 (Doc. 80-1, pp. 55, 111-112). He filed his suit in

   this court just four days later, without waiting to see if the grievance was returned to him.

   Indeed, he filed his May 16, 2014 complaint before the warden even received the

   emergency grievance.      Plaintiff re-filed his grievance on May 19, 2014.          Because

   Plaintiff did not wait until he received the grievance back from the warden, the Court

   finds that Plaintiff failed to exhaust his administrative remedies prior to filing suit.

                                           Page 11 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 12 of 15 Page ID #664



            The Court does note that Plaintiff claims that he never received his grievance back

   from the warden.       The records before the Court indicate that the grievance was

   returned on May 22, 2014 (Doc. 77-2, p. 2; Doc. 77-3, p. 1). While this dispute creates an

   issue of fact, it is one that does not need to be resolved in this case. It is clear that

   Plaintiff did not give the prison an opportunity to review and return the grievance.

   Instead he filed suit on May 16, 2014, prior to the warden even having received the

   grievance from Plaintiff. Thus, Plaintiff did not exhaust his grievance prior to filing. If

   Plaintiff re-filed suit, there would be an issue of fact as to whether Plaintiff properly

   exhausted, as Plaintiff would have waited for a timely response before filing his

   complaint. However, here the Court finds that Plaintiff filed simply his complaint too

   early.

            Plaintiff makes much of the fact that he had exhausted by the time he filed his

   amended complaint on July 14, 2014 (Doc. 33), as by that date sufficient time had elapsed

   from his submitting his grievance to deem that the warden had failed to respond.

   Although new claims in an amended complaint do not have to be exhausted prior to

   filing suit (only exhausted prior to filing the new complaint), Plaintiff did not present

   new claims in the amended complaint. See Barnes v. Bailey, 420 F.3d 673, 678 (7th Cir.

   2005).     His amended complaint merely identified several John Doe defendants.

   Plaintiff’s amended complaint did not raise any new, properly-exhausted claims. The

   amended complaint restated claims that had not been exhausted prior to filing suit.

   Barnes, 420 F.3d at 678 (when plaintiff’s complaint was the “functional equivalent of

                                            Page 12 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 13 of 15 Page ID #665



   filing a new” suit with new claims against new individuals, then plaintiff need only

   exhaust before filing that complaint). See also Antonelli v. Sherrow, 246 Fed. Appx.

   381, 385 (7th Cir. 2007)(Plaintiff had not properly exhausted prior to filing suit when

   his amended complaint merely added the same claim, which was not exhausted prior

   to filing the original suit, against another individual). Plaintiff cannot file a complaint

   and then exhaust his administrative remedies while the litigation is pending, which is

   what he tried to do here. Ford, 362 F.3d at 398 (Suit filed too early must be dismissed

   even if plaintiff exhausted his administrative remedies while the case was pending.).

          Accordingly, the Court GRANTS Defendants’ motion for summary judgment

   and DISMISSES without prejudice the claims against Defendants Raymond Allen,

   Kent Brookman, Kimberly Butler, Nathaniel Maue, William Qualls, Ryan Sadler,

   Michael Samuel, Michael Schnicker, Tina Monroe, and Wesley Monroe. To the extent

   that Defendant Kimberly Butler was in the case for purposes of identifying John Doe

   Defendants, she will remain in the case as a Defendant to help identify the unknown

   Defendants (John Does # 1, 2, 3, and 4 and unknown Defendant Nurse).

          Plaintiff’s claims remain against unknown Defendant Nurse and John Doe

   Defendants #1, #2, #3, and# 4. These five Defendants still have not been identified by

   Plaintiff. Plaintiff had 90 days from October 27, 2014 to amend his complaint to identify

   these individuals. He failed to do so. The Court now DIRECTS Plaintiff to identify

   these unknown Defendants (John Doe Defendants 1 through 4 and unknown Defendant

   Nurse) no later than September 25, 2015. The Court WARNS PLAINTIFF that failure

                                          Page 13 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 14 of 15 Page ID #666



   to do so will result in a dismissal of all remaining unknown Defendants pursuant to

   Federal Rule of Civil Procedure 41(b).

         The claims that remain following entry of this Order are:

   Count 1:     Civil conspiracy against all unknown Defendants, except unknown
                Defendant Nurse, for group participation in the May 11, 2014 assault.

   Count 3:     Eighth Amendment excessive force claim against unknown Defendants #1
                and #2.

   Count 4:     Eighth Amendment failure to protect claim against unknown Defendants
                #2, #3, and #4.

   Count 5:     Assault and battery claims against unknown Defendants #1 and #2.

   Count 6:     Eighth amendment deliberate indifference claim against all unknown
                Defendants including unknown Defendant Nurse.

   Count 7:     State law negligence claim against all non-medical unknown Defendants
                for conduct in Count 6.

   E.    CONCLUSION

         For the reasons delineated above, the Court GRANTS Defendants’ motion for

   exhaustion-based summary judgment and DISMISSES without prejudice the claims

   against Defendants Raymond Allen, Kent Brookman, Kimberly Butler, Nathaniel Maue,

   William Qualls, Ryan Sadler, Michael Samuel, Michael Schnicker, Tina Monroe, and

   Wesley Monroe.

         Remaining as Defendants are unknown Defendant Nurse, unknown Defendants

   John Doe #1, #2, #3, and #4, plus Warden Kimberly Butler (who stays in the case only to

   help identify the unknown Defendants).


                                            Page 14 of 15
Case 3:14-cv-00562-MJR-SCW Document 104 Filed 08/26/15 Page 15 of 15 Page ID #667



         Plaintiff is given until September 25, 2015 to identify unknown Defendant Nurse,

   John Doe #1, John Doe #2, John Doe #3, and John Doe #4. Failure to do so will result in

   dismissal    of    Plaintiff’s   remaining     claims    against    these    unknown

   individuals/Defendants.

         IT IS SO ORDERED.

         DATED August 26, 2015.



                                           s/ Michael J. Reagan
                                           Michael J. Reagan
                                           United States District Judge




                                        Page 15 of 15
